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---------- Forwarded message ---------
From: Alison Franciscus <afranciscus813@gmail.com>
Date: Thu, Dec 21, 2023, 9:33 AM
Subject: Re: Questions.
To: Bricker, Michael <MBricker@coj.net>


I am very confused. Since being released as a volunteer, I
have never worn my volunteer shirt, I have never taken a
dog from a kennel, I have never gone in unauthorized staff
or volunteer areas. You indicated in your voice mail that I
am banned from the premises because I am making staff
and volunteers uncomfortable. I need you to elaborate and
clarify your statement. As I indicated previously, I have not
engaged with any staff or volunteers since my dismissal. I
request you put everything in writing so there are
no misunderstandings during communications. Regarding
my foster, please indicate via email. Is there an issue? You
have not indicated what my foster has to do with my
dismissal or what the plan is moving forward. Lastly, I do
have 2 secret Santa's gift bags at home, one for Sable and
one for Barker. How would you like these delivered to
these to these deserving pups? Please advise.


                                                             EXHIBIT 5
